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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10   THERESA SWEET, et al.,
                                  11                  Plaintiffs,                          No. C 19-03674 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   MIGUEL CARDONA, et al.,                             NOTICE RE DEADLINE
                                                                                           FOR ANY FURTHER
                                  14                  Defendants.                          MOTIONS TO INTERVENE
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                                  17        The Court has granted preliminary approval of the proposed settlement of this class

                                  18   action regarding student-loan borrower-defense applications. The final fairness hearing is SET

                                  19   for NOVEMBER 3, 2022. Four schools have already moved to intervene. The deadline for any

                                  20   other interested parties to file a motion to intervene in this action is THURSDAY, AUGUST 25,

                                  21   2022, AT NOON (PST).

                                  22        IT IS SO ORDERED.

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                                  24   Dated: August 4, 2022.

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                                                                                             WILLIAM ALSUP
                                  27                                                         UNITED STATES DISTRICT JUDGE
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